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                                                  DF GROWTH REIT II, LLC; DIVERSYFUND, INC.;
                                               9 CRAIG CECILIO; and ALAN LEWIS
                                       10
                                                                      UNITED STATES DISTRICT COURT
                                       11
                                                                   SOUTHERN DISTRICT OF CALIFORNIA
                                       12
                                                  MARK FERRY et al.,                         Case No. 3:22-cv-02001-AJB-WVG
                                       13
                                                              Plaintiffs,                    DEFENDANTS’ REQUEST FOR
                                       14                                                    JUDICIAL IN SUPPORT OF
                                                        v.                                   MOTION TO DISMISS AND
                                       15                                                    STRIKE
                                                  DF GROWTH REIT, LLC et al.,
                                       16                                                    Filed without a hearing date pursuant to
                                                              Defendants.                    the Court’s March 2, 2023 Order
                                       17                                                    (Docket No. 11)
                                       18               Pursuant to Federal Rule of Evidence Section 201, at any stage of a
                                       19 proceeding, courts may take judicial notice of (1) facts not subject to reasonable
                                       20 dispute and “generally known within the trial court’s territorial jurisdiction” and (2)
                                       21 adjudicative facts, which “can be accurately and readily determined from sources
                                       22 whose accuracy cannot reasonably be questioned.” Fed. R. Evid. 201(b)(1)-(2).
                                       23 Proper subject for judicial notice include documents, pleadings, and orders or
                                       24 decisions in any federal or state court or even earlier related proceedings in the
                                       25 litigation. See Enterprise Bank v. Magna Bank of Missouri, 92 F.3d 743, 746 (8th
                                       26 Cir. 1996); Asdar Group v. Pillsbury, Madison & Sutro, 99 F.3d 289, 290, fn. 1 (9th
                                       27 Cir. 1996). Courts “may take judicial notice of matters of public record without
                                       28 converting a motion to dismiss into a motion for summary judgment, as long as the
          BUCHALTER
A P R O F E S S I ON A L C OR P OR A T I O N
            L O S A N G E LE S                                                      -1-                          3:22-cv-02001-AJB-WVG
                                                  DEFENDANTS’ REQUEST FOR JUDICIAL IN SUPPORT OF MOTION TO DISMISS AND STRIKE
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                                               1 facts noticed are not subject to reasonable dispute.” Skilstaf, Inc. v. CVS Caremark
                                               2 Corp., 669 F.3d 1005, 1016 (9th Cir. 2012) (holding that “[t]he district court did not
                                               3 abuse its discretion by taking judicial notice of the filings in the New England
                                               4 Carpenters litigation, and the parties do not argue otherwise” because “[t]here was
                                               5 no dispute about the contents or about the statements from those filings that the
                                               6 district court considered through judicial notice”). Further, a court may take judicial
                                               7 notice of such facts sua sponte but must take judicial notice where a party requests
                                               8 the court to do so and “the court is supplied with the necessary information.” Fed.
                                               9 R. Evid. 201(c)(1)-(2).
                                       10                When ruling on a motion to dismiss pursuant to Rule 12(b)(6) of the Federal
                                       11 Rules of Civil Procedure (“Rule 12(b)(6)”), courts may supplement “the facts and
                                       12 inferences from the body of the complaint with [1] ‘data points gleaned from
                                       13 documents incorporated by reference into the complaint, [2] matters of public record,
                                       14 and [3] facts susceptible to judicial notice.’” Rosen v. Uber Techs., Inc., 164 F. Supp.
                                       15 3d 1165, 1171 (N.D. Cal. 2016); see also Coto Settlement v. Eisenberg, 593 F.3d
                                       16 1031, 1038 (9th Cir. 2010) (providing that on a motion to dismiss, “courts may
                                       17 consider materials incorporated into the complaint or matters of public record”); Lee
                                       18 v. City of Los Angeles, 250 F.3d 668, 689 (9th Cir.2001) (noting that a district court
                                       19 may not take judicial notice of a disputed fact in a public record). “Courts “may also
                                       20 consider unattached evidence on which the complaint ‘necessarily relies’ [even if not
                                       21 explicitly mentioned in the complaint] if: (1) the complaint refers to the document;
                                       22 (2) the document is central to the plaintiff’s claim; and (3) no party questions the
                                       23 authenticity of the document.” United States v. Corinthian Colleges, 655 F.3d 984,
                                       24 999 (9th Cir. 2011).
                                       25                Based on the above authority allowing this Court to take judicial notice of
                                       26 certain facts and documents when ruling on a motion to dismiss, Defendants DF
                                       27 Growth REIT, LLC, a Delaware limited liability company (“REIT I”); DF Growth
                                       28
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A P R O F E S S I ON A L C OR P OR A T I O N
            L O S A N G E LE S                                                         -2-                          3:22-cv-02001-AJB-WVG
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                                               1 REIT II, LLC, a Delaware limited liability company (“REIT II”); DiversyFund, Inc.,
                                               2 a Delaware corporation (“DiversyFund”); Craig Cecilio; and Alan Lewis
                                               3 (collectively, “Defendants”), by and through its attorneys of record, hereby request
                                               4 that the Court take judicial notice, pursuant to Federal Rule of Evidence Section 201,
                                               5 of the following facts and documents attached hereto, in support of its Motion to
                                               6 Dismiss the First Amended Complaint of Plaintiffs Mark Ferry, Igor Korostelev,
                                               7 Ryan Krause, and Valerie Hamerling (collectively, “Plaintiffs”):
                                               8        1.     That, as evidenced by, Exhibit “1,” which is a true and correct copy of
                                               9 C. Craig Cecilio’s real estate license information from the California Department of
                                       10 Real Estate. This document is publicly accessible and can be located on the
                                       11 California Department of Real Estate’s website by searching for Mr. Cecilio’s
                                       12 license. Specifically, this document can be located at the following link:
                                       13 https://www2.dre.ca.gov/PublicASP/pplinfo.asp?License_id=01322708.                        The
                                       14 official           records     of   the California Department of Real Estate are      subject
                                       15 to judicial notice as a public record. Fed. R. Evid. 201(b); Interstate Natural Gas
                                       16 Co. v. Southern California Gas Co., 209 F.2d 380, 385 (9th Cir. 1953) (courts “may
                                       17 take judicial notice of records and reports of administrative bodies.”). Thus, judicial
                                       18 notice of this document is appropriate, especially when relied upon and referenced
                                       19 by Plaintiffs. See Johnson v. Fed. Home Loan Mortg. Corp., 793 F.3d 1005, 1007–
                                       20 08 (9th Cir. 2015) (acknowledging that courts may take judicial notice of documents
                                       21 referenced by the complaint); see also Sprewell v. Golden State Warriors, 266 F.3d
                                       22 979, 988 (9th Cir.), opinion amended on denial of reh’g, 275 F.3d 1187 (9th Cir.
                                       23 2001) (providing that “[t]he court need not, however, accept as true allegations that
                                       24 contradict matters properly subject to judicial notice or by exhibit”).
                                       25               2.     That, as evidenced by, Exhibit “2,” which is a true and correct copy of
                                       26 the September 13, 2017 Stipulation and Agreement between Coastal California
                                       27 Funding Group, Inc. and C. Craig Cecilio. Mr. Cecilio neither admitted nor denied
                                       28
          BUCHALTER
A P R O F E S S I ON A L C OR P OR A T I O N
            L O S A N G E LE S                                                         -3-                          3:22-cv-02001-AJB-WVG
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                                               1 the allegations against him and stipulated to a judgment in the interests of
                                               2 expediency.    This document is publicly accessible and can be located on the
                                               3 California Department of Real Estate’s website specifically by for Mr. Cecilio’s
                                               4 license and then accessing the second document listed under “Disciplinary or Formal
                                               5 Action Documents.” Specifically, this document can be located at the following link:
                                               6 https://www2.dre.ca.gov/hearingfiles/H04876SD_171002_P.pdf.           The     official
                                               7 records of the California Department of Real Estate are subject to judicial notice as
                                               8 a public record. Fed. R. Evid. 201(b); Interstate Natural Gas Co. v. Southern
                                               9 California Gas Co., 209 F.2d 380, 385 (9th Cir. 1953) (courts “may take judicial
                                       10 notice of records and reports of administrative bodies.”). Thus, judicial notice of this
                                       11 document is appropriate, especially when relied upon and referenced by Plaintiffs.
                                       12 See Johnson v. Fed. Home Loan Mortg. Corp., 793 F.3d 1005, 1007–08 (9th Cir.
                                       13 2015) (acknowledging that courts may take judicial notice of documents referenced
                                       14 by the complaint); see also Sprewell v. Golden State Warriors, 266 F.3d 979, 988
                                       15 (9th Cir.), opinion amended on denial of reh’g, 275 F.3d 1187 (9th Cir. 2001)
                                       16 (providing that “[t]he court need not, however, accept as true allegations that
                                       17 contradict matters properly subject to judicial notice or by exhibit”).
                                       18               3.     That, as evidenced by, Exhibit “3,” which is a true and correct copy of
                                       19 a the publicly filed January 2021 Notice of Qualification filed with the SEC with
                                       20 respect to REIT II, REIT II publicly disclosed that it co-invests with DiversyFund
                                       21 and its affiliates, which includes REIT I. See Hammitt, 19 F. Supp. 3d at 1004
                                       22 (noting that “[a] court may take judicial notice of SEC filings”).
                                       23               4.     That, as evidenced by, Exhibit “4,” which is a true and correct copy of
                                       24 a REIT II’s original December 2, 2020 Offering Circular relied upon by Plaintiffs in
                                       25 the FAC, REIT II publicly disclosed that it co-invests with DiversyFund and its
                                       26 affiliates, which includes REIT I, shares common management, and disclosed capital
                                       27 needs. Hammitt, 19 F. Supp. 3d at 1004.
                                       28
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A P R O F E S S I ON A L C OR P OR A T I O N
            L O S A N G E LE S                                                        -4-                          3:22-cv-02001-AJB-WVG
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                                               1        5.     That, as evidenced by, Exhibit “5,” which is a true and correct copy of
                                               2 the SEC’s November 14, 2022 Order on the SEC’s Motion for Summary Disposition
                                               3 relied upon by Plaintiffs in the FAC, that the administrative law judge concluded that
                                               4 “the evidence presented is insufficient to support the Division’s claims that
                                               5 Respondent misrepresented its minimum capital requirements and the relationship
                                               6 between REIT I and REIT II.” This document is publicly accessible and can be
                                               7 located at the following link: https://www.sec.gov/alj/aljorders/2022/ap-6879.pdf at
                                               8 2. Hammitt, 19 F. Supp. 3d at 1004.
                                               9        6.     That as evidenced by, Exhibit “6,” which is a true and correct copy of
                                       10 the REIT I’s May 21, 2019 Offering Circular Supplement No. 3, the May 2019
                                       11 disclosure did not, in fact, show payments of over $1,250,000.00 in developer fees.
                                       12 Hammitt, 19 F. Supp. 3d at 1004.
                                       13               7.     That as evidenced by, Exhibit “7,” which is a true and correct copy of
                                       14 the REIT II’s May 3, 2022 Form 1-K Annual Report, REIT II’s total expenses as
                                       15 $1,056,792.00 (i.e., less than $1,280,000.00). Hammitt, 19 F. Supp. 3d at 1004.
                                       16
                                       17 DATED: April 3, 2023                           BUCHALTER
                                                                                         A Professional Corporation
                                       18
                                       19
                                                                                         By:     /s/ Sanjay Bhandari
                                       20                                                               SANJAY BHANDARI
                                                                                               Attorneys for Defendants, DF GROWTH
                                       21                                                        REIT, LLC; DF GROWTH REIT II,
                                                                                                LLC; DIVERSYFUND, INC.; CRAIG
                                       22                                                            CECILIO; and ALAN LEWIS
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          BUCHALTER
A P R O F E S S I ON A L C OR P OR A T I O N
            L O S A N G E LE S                                                         -5-                          3:22-cv-02001-AJB-WVG
                                                   DEFENDANTS’ REQUEST FOR JUDICIAL IN SUPPORT OF MOTION TO DISMISS AND STRIKE
